Case 0:18-cv-62516-RNS Document 7 Entered on FLSD Docket 11/01/2018 Page 1 of 1



                                             RETURN OF SERVICE

                                UNITED STATES DISTRICT COURT
                                    Southern District of Florida
 Case Number: 18CV62516

 Plaintiff:
 MICHAEL BENHAYON INDIVIDUALLY AND ON BEHALF OF ALL
 OTHERS SIMILARLY SITUATED,
 vs.
 Defendant:
 GLOBAL DOC PREP INC.,

 For:
 Manuel Hiraldo
 Hiraldo P.A.
 401 E. Las Olas Blvd.
 Ste 1400
 Fort Lauderdale, FL 33301

 Received by L & L Process to be served on GLOBAL DOC PREP INC. REGISTERED AGENT CATHERINE
 RUDNICK, 5301 NORTH FEDERAL HWY, SUITE 250, BOCA RATON, FL 33487.

 I, Charles Goldberg, do hereby affirm that on the 31st day of October, 2018 at 1:30 pm, I:

 served an AUTHORIZED entity by delivering a true copy of the Summons in a Civil Action and Class
 Action Complaint with the date and hour of service endorsed thereon by me, to: Keith Nichols as
 Officer at the address of: 5301 North Federal Highway, Suite 250, Boca Raton, FL 33487, who stated
 they are authorized to accept service for GLOBAL DOC PREP INC., and informed said person of the
 contents therein, in compliance with state statutes.


 I certify that I am over the age of 18, have no interest in the above action and I am a Certified Process
 Server, in good standing, in the judicial circuit in which the process was served. UNDER PENALTIES OF
 PERJURY, I DELCARE THAT I HAVE READ THE FOREGOING AMENDED AFFIDAVIT OF SERVICE AND
 THAT THE FACTS STATED IN IT ARE TRUE.




                                                                          Charles Goldberg
                                                                          PROCESS SERVER #1624

                                                                          L & L Process
                                                                          13876 Sw 56th Street
                                                                          Ste 200
                                                                          Miami, FL 33175
                                                                          (305) 772-8804

                                                                          Our Job Serial Number: LLP-2018002940


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